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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          NEWNAN DIVISION

MICHAEL LAMAR,

           Plaintiff,                       Civil Action No.

v.

BIG RIG LENDING, LLC AND                    JURY TRIAL DEMANDED
FIRST AMERICAN TITLE
LENDING OF GEORGIA, LLC,

       Defendants.

                                  COMPLAINT

      Plaintiff Michael Lamar files this Complaint against Defendants Big Rig

Lending, LLC (“Big Rig”) and First American Title Lending of Georgia, LLC (“First

American,” and collectively with Big Rig, “Defendants”). Plaintiff shows the Court

as follows:

                                INTRODUCTION

      1.      This case concerns racial discrimination and retaliation.   Plaintiff

claims that he was fired by Defendants within days of contacting Human Resources

and alleging, orally and in writing, racial discrimination by Plaintiff’s immediate

supervisor and Big Rig’s Vice President of Operations. Plaintiff’s discrimination


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complaints followed months of unwarranted and racially-motivated antagonism

towards Plaintiff by management, during which Plaintiff (1) was the only

African-American performing collections work for Big Rig, and (2) consistently was

a top performer. Plaintiff’s supervisor and Big Rig’s Vice President of Operations

did not display similar animosity towards Plaintiff’s white coworkers, whom

Plaintiff regularly outperformed.

      2.     Plaintiff asserts a retaliation claim against Defendants under 42 U.S.C.

§ 1981 (“Section 1981”).

                          JURISDICTION AND VENUE

      3.     This   court   has     federal-question   jurisdiction   over    Plaintiff’s

Section 1981 claim, pursuant to 28 U.S.C. § 1331.

      4.     Pursuant to 28 U.S.C. § 1391(b), 42 U.S.C. § 2000e-5(f)(3), and Local

Rule 3.1(B), venue is proper in this Court because the unlawful employment

practices described herein were primarily committed within the Newnan Division of

the Northern District of Georgia, where Defendants regularly do business.

                                      PARTIES

      5.     Plaintiff is a citizen of the United States of America and a resident of

the State of Georgia; he submits himself to the jurisdiction of this court.




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      6.    Plaintiff was hired by First American in approximately August 2018 as

an Internal Auditor. In approximately September 2019, Plaintiff began working for

Big Rig, an affiliate of First American, as a Senior Collections Coordinator, which

position he held until on or about December 7, 2020.

      7.    Big Rig is a Georgia limited-liability company with its Principal Office

Address at 3855 North Ocoee Street, 5th Floor, Cleveland, Tennessee 37312 .

      8.    First American is a Tennessee limited-liability company with its

Principal Office Address at 3855 North Ocoee Street, 5th Floor, Cleveland,

Tennessee 37312.

      9.    Defendants may be served via their Registered Agent, National

Registered Agents, Inc., at 289 S. Culver Street, Lawrenceville, Georgia 30046.

      10.   On information and belief, Big Rig is a wholly-owned subsidiary of

First American.

      11.   On information and belief, Defendants have interrelated and integrated

operations and management and jointly employed Plaintiff. On further information

and belief, Defendants jointly controlled the terms and conditions of Plaintiff’s

employment.




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                             STATEMENT OF FACTS

         12.   Plaintiff is African-American.

         13.   Plaintiff was hired by First American as an Internal Auditor in

approximately August 2018. While in that role, Plaintiff was provided a company

vehicle, which he received a First American location in McDonough, Georgia, that

was near to his home.

         14.   In September 2019, First American arranged for Plaintiff to transfer to

Big Rig as a Senior Collections Officer. As a Senior Collections Officer, Plaintiff’s

primary duties were to seek payment from debtors on delinquent and charged-off

loans.

         15.   Plaintiff worked remotely, pursuant to which he was provided remote

office space, as well as a landline phone and an email account that he used to

communicate with management.

         16.   Between September 2019 and December 2020, Plaintiff consistently

led his department in funds recovered from delinquent or charged-off accounts.

         17.   As part of Plaintiff’s compensation, he received commissions on the

funds he recovered. Although the funds were nominally discretionary and dispensed

at the direction of Big Rig’s management, the commissions were designed to be, and

in fact were, a core part of Plaintiff’s compensation.

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      18.    In approximately September 2019, Big Rig hired Jason Connell

(“Connell”), who is white, as Collections Manager, in which role he directly

supervised Plaintiff.

      19.    Connell, in turn, reported to Big Rig’s Vice President of Operations,

Mike Fraebel (“Fraebel”), who also is white. Connell and Fraebel were long-time

friends and associates of one another at the time that Big Rig hired Connell.

      20.    Between September 2019 and December 2020, Connell consistently

performed poorly. However, upon information and belief, Connell was never

disciplined by Fraebel or Big Rig for his poor performance.

      21.    Between September 2019 and December 2020, Plaintiff experienced

increasing animosity from Connell and Fraebel. More specifically, Connell and

Fraebel communicated with Plaintiff in a more aggressive and/or condescending

manner than they did with Plaintiff’s peers, all of whom were white.

      22.    As an example, prior to the COVID-19 pandemic, Plaintiff visited the

Big Rig office in Dalton, Georgia, twice a month. During these visits, Plaintiff saw

that Connell permitted Plaintiff’s white coworkers to, inter alia, take coffee breaks

and chat with one another at their cubicles. In contrast, if Plaintiff left his desk for

any reason, including to use the restroom, Connell required and expected Plaintiff to

let Connell know.

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      23.    As another example, Connell expressed frustration with the fact that he

had difficulty getting in touch with Plaintiff on occasion. However, as Plaintiff

explained to Connell, Connell (and Fraebel) almost always attempted to contact

Plaintiff only via his personal cell phone, rather than his office landline. Further,

Plaintiff worked diligently to remain reachable whenever an issue was discovered.

      24.    As a third example, in approximately September 2020, Plaintiff was

told by Fraebel that Plaintiff had to return his company vehicle within 90 days.

      25.    At that time, that Connell and Fraebel knew that the company vehicle

was Plaintiff’s only means of transportation. Nevertheless, Plaintiff agreed to return

the vehicle as directed.

      26.    Plaintiff informed Fraebel that he would need assistance dropping the

vehicle off because Big Rig’s desired drop-off location was over two hours away

from Plaintiff’s home, and Plaintiff would not have a way to get back home.

      27.    Plaintiff asked whether he could drop the vehicle off at a First American

location in McDonough that was near to his home. Fraebel did not respond to

Plaintiff’s request.

      28.    Although Plaintiff expressed his willingness to return the vehicle in

approximately September 2020, the issue was not brought up again until

mid-November 2020, within the 90-day deadline that Plaintiff originally had been

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given. At that time, Fraebel told Plaintiff that he had until December 1, 2020, to

return the vehicle.

      29.    Plaintiff confirmed that he would drop off the vehicle as directed but

again stated that he would need assistance getting home if he had to leave it at Big

Rig’s preferred location. Plaintiff again asked whether he could leave the vehicle at

the First American location close to Plaintiff’s home. Fraebel refused Plaintiff’s

request and told Plaintiff that he would follow up with Big Rig’s CEO, Randy

McCoy (“McCoy”).

      30.    Plaintiff did not hear from Fraebel against regarding the return of the

company vehicle until on or about December 2, 2020, at which time Fraebel emailed

Plaintiff and (1) complained about alleged issues communicating with Plaintiff, and

(2) threatened to terminate Plaintiff’s employment and report the vehicle stolen if

he did not return it to the local First American location—the same location that

Plaintiff had originally suggested as a possible solution in approximately

September 2020.

      31.    Fraebel did not state in his December 2 email that the decision to

terminate Plaintiff’s employment already had been made; rather, Fraebel merely

stated that Plaintiff’s failure to comply with Fraebel’s directives could lead to

Plaintiff’s termination.

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      32.   On December 2, 2020, Plaintiff returned the vehicle to the First

American location in McDonough, as instructed.

      33.   That same day, December 2, 2020, Plaintiff contacted Big Rig’s Human

Resources (“HR”) Manager, Madeline Hollis, after he received Fraebel’s email

concerning the return of the company vehicle.

      34.   During that phone call, Plaintiff expressly alleged that Fraebel and

Connell were, and had been, discriminating against him on account of his race.

Hollis told Plaintiff that he should have raised his concerns before, but Plaintiff

stated that he had been worried that he would be retaliated against by Fraebel and

Connell.

      35.   Plaintiff’s December 2, 2020 communication with Hollis constituted

protected activity under Section 1981.

      36.   Following the December 2 phone call, Hollis sent Plaintiff an email

confirming that he had alleged discrimination during their conversation earlier that

morning. McCoy and Big Rig’s President, Jeff Mowery, were copied on that email.

      37.   On Monday, December 7, 2020, McCoy and Hollis spoke with

Plaintiff. Plaintiff anticipated that the meeting would be used to address the race

discrimination allegations that he had made to Hollis on December 2, 2020.




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      38.    However, McCoy did not address Plaintiff’s race discrimination

allegations but instead told Plaintiff that he was being terminated for failing to meet

performance expectations.

      39.    In December 2020, Plaintiff consistently had been and remained a top

performer in his department.

      40.    In actuality, Defendants terminated Plaintiff’s employment in

retaliation for engaging in protected activity under Section 1981, to wit, his

December 2, 2020 opposition to race discrimination.

      41.    Defendants’ actions and/or inactions in retaliating against Plaintiff for

opposing racial discrimination were willful, wanton, and/or in reckless disregard for

Plaintiff’s rights under Section 1981.

      42.    Defendants acted with the specific intent to harm Plaintiff.

      43.    Due to Defendants’ violations of Section 1981, Plaintiff has suffered

lost compensation and other benefits of employment, emotional distress,

inconvenience, humiliation, and other indignities.

                                    COUNT I
                     Retaliation in Violation of Section 1981
      44.    Plaintiff and Defendants were parties to an employment agreement

pursuant to which, inter alia, Plaintiff performed work for Defendants and was

compensated for his services.

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      45.    Plaintiff performed his contractual obligations.

      46.    Section 1981 prohibits Defendants from retaliating against Plaintiff

because he opposed, objected to, and/or complained about race discrimination

prohibited by Section 1981.

      47.    Prior to his termination, Plaintiff engaged in protected activity under

Section 1981 during his December 2, 2020 conversation with HR Manager Hollis,

during which he expressly alleged that Defendants were discriminating against him

based on his race.

      48.    Defendants retaliated against Plaintiff for engaging in protected activity

under Section 1981 by terminating his employment.

      49.    Defendants’ retaliatory conduct violated Section 1981.

      50.    By retaliating against Plaintiff for engaging in protected activity under

Section 1981, Defendants caused Plaintiff to incur damages that include lost

compensation and other benefits of employment, emotional distress, inconvenience,

loss of income, humiliation, and other indignities.

      51.    Defendants acted intentionally, maliciously, and/or recklessly with

respect to Plaintiff’s rights under Section 1981.

      52.    Pursuant to Section 1981, Plaintiff is entitled to damages against

Defendants, including back pay and lost benefits, compensatory and punitive

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damages, attorneys’ fees and costs, and all other relief recoverable under

Section 1981.

                                PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands a TRIAL BY JURY and the following

relief:

          a)   A declaratory judgment that the practices of Defendants complained of

herein are unlawful under Section 1981;

          b)   Full back pay from the date that Plaintiff was terminated, taking into

account all raises and other compensation to which Plaintiff would have been

entitled but for Defendants’ illegal actions, and all associated benefits of

employment, with prejudgment interest thereon;

          c)   Front pay to compensate Plaintiff for lost future wages and benefits;

          d)   Compensatory damages in an amount to be determined by the jury;

          e)   Punitive damages in an amount to be determined by the jury;

          f)   Reasonable attorneys’ fees and costs; and

          g)   All other equitable and other further relief as the Court deems just and

proper.




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   Respectfully submitted this 27th day of September 2021.

                                       /s/ Michael D. Forrest
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